                  Case 1:12-mj-00291-GSA Document 7 Filed 12/07/12 Page 1 of 3
AO 199A (Rev. 3/87) Order Setting Conditions of Release                                                   Page I of 3 Pages




         UNITED STATES OF AMERICA
                                                                      ORDER SETTING CONDITIONS
                       v.                                                   OF RELEASE

         RAMON FRANCO-POLANCO                                        Case Number: 1: 12-mj-00291-GSA
                    Defendant


            IT IS ORDERED that the release of the defendant is subject to the following conditions:

              (I)      The defendant shall not commit any offense in violation of federal, state, or local law while on release
                       in this case.

              (2)      The defendant must cooperate in the collection of a DNA sample ifthe collection is authorized by
                       42 U.S.C. Section 14135a.

              (3)      The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing of
                       any change in address and telephone number.

              (4)      The defendant shall appear at all proceedings as required and shall surrender for service of any
                       sentence imposed as directed. The defendant shall next appear at U.S. District Court, 2500
                       Tulare Street, 6 th Floor, Courtroom 7 before Judge Sheila K. Oberto on 12/21/2012 at 1 :30p.m.




                                Release on Personal Recognizance or Unsecured Bond
            IT IS FURTHER ORDERED that the defendant be released provided that:

(V )        (4)        The defendant promises to appear at all proceedings as required and to surrender for service of any
                       sentence imposed.

(    )      (5)        The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ dol1ars ($,_ _ _ _ _ _ _ _ _-') in the

                       event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




    COPY:         DEFENDANT                  U.S. ATTORNEY             U.S. MARSHAL                PRETRIAL SERVICES
                Case 1:12-mj-00291-GSA Document 7 Filed 12/07/12 Page 2 of 3
FRANCO, Ramon
Doc. No. 1:12-MJ-291-GSA

                                          ADDITIONAL CONDITIONS OF RELEASE

         Upon finding that release by one ofthe above methods will not by itself reasonably assure the appearance of the defendant
and the safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the
conditions marked below:

(X)       (7)       The defendant is placed in the custody of:

                    Name of person or organization Carmen Franco.



who agrees (a) to supervise the defendant in accordance with all conditions of release,
(b) to use every effort to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
immediately in the event the defendant violates any conditions of release or disappears.

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                                        CUSTODIA          OR PROXY

(X)       (8)       The defendant shall:
          (X)       (a)      seek and/or maintain employment, and provide proofthereofto the PSO, upon request.
          ( )       (b)      maintain or commence an educational program.
          (X)       (c)      abide by the following restrictions on his personal associations, place of abode, or travel:
                             Reside at a residence approved by the PSO, and not move or be absent from this residence for more than 24 hrs.
                             without prior approval of PSO; travel restricted to the Eastern District of California, unless otherwise approved in
                           . advance by PSO.
          (X)       (d)      avoid all contact with the following named persons, who are considered either alleged victims or potential witnesses:
                              Rafael Ontiveros-Calderon and any other defendant in related case 1: 12CR00310, unless in the presence of counsel
                             or otherwise approved in advance by the PSO.
          (X)       (e)      report on a regular basis to the following agency:
                             Pretrial Services and comply with their rules and regulations.
          ()        (f)      comply with the following curfew:
          ( )       (g)      refrain from possessing a firearm, destructive device, or other dangerous weapon.
          (X)       (h)      refrain from ANY use of alcohol, and any use or unlawful possession of a narcotic drug and other controlled
                             substances defined in 21 USC &802 unless prescribed by a licensed medical practitioner. However, medical marijuana.
                             prescribed or not, may not be used.
          ( )       (i)      undergo medical or psychiatric treatment and/or remain in an institution, as follows: Including treatment for drug/alcohol
                             dependency, and pay for costs as approved by the PS~.
          ( )       U)       executed a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of release,
                             the following sum of money or designated property:
          ( )       (k)      post with the court the following indicia or ownership of the above-described property, or the following amount or
                             percentage of the above-described money:
          ( )       (I)      execute a bail bond with solvent sureties in the amount of$
          ( )       (m)      return to custody each (week)day as of o'clock after being released each (week)day as of o'clock for employment,
                             schooling, or the following limited purpose(s):
          ()        (n)      surrender any passport to the Clerk, United States District Court, prior to your release from custody.
          ( )       (0)      obtain no passport during the pendency of this case.
          (X)       (p)      you shall submit to drug or alcohol testing as approved by the Pretrial Services Officer. You shall pay all or part of
                             the costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer.
          (X)       (q)      report any prescriptions to the PSO within 48 hours of receipt.
          (X)       (r)      report in person to the Pretrial Services Agency on the first working day following your release from custody.
          ()        (s)      participate in one of the following Location Monitoring program components and abide by all the requirements of the
                             program which will include electronic monitoring or other location verification system. The defendant shall pay all or part
                             ofthe costs of the program based upon your ability to pay as determined by the PSO.




(Copies to; Defendant, US Attorney, US Marshal, Pretrial Services)
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               Case
AO 199C (Rev. 4191)     1:12-mj-00291-GSA
                    Advice ofPenalties...                                          3 of~
                                                    Document 7 Filed 12/07/12 Page Page 3                      Of;' Pages
                                         Advice of Pet!talties and Sanctions
TO TIlE DEFENDANT:
           YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTION:

         Violation ofany of the foregoing conditions of release may result in the immediate issuance of a warrant for the
defendant's arrest, a revocation of release, an order ofdetention, as provided in 18 USC §3148, and a prosecution for
contempt as provided in 18 USC §401 which could result in a possible term of imprisonment and/or a fine.
         The commission ofany offense while on pretrial release may result in an additional sentence upon conviction for
such offense to a term of imprisonment of not less than two years nor more than ten years, ifthe offense is a felony; or a term
of imprisonment of not less than ninety days nor more than ninety days or more than one year, if the offense is a
misdemeanor. This sentence shall be consecutive to any other sentence and must be imposed in addition to the sentence
received for the offense itself.
          18 USC §1503 makes it a criminal offense punishable by up to five years in jail and a $250,000 fine to intimidate or
attempt to intimidate a witness, juror or officer of the court; 18 USC §1510 makes it a criminal offense punishable by up to
five years in jail and a $250,000 fine to obstruct a criminal investigation; 18 USC §1512 makes it a criminal offense
punishable by up to ten years in prison and a $250,000 fme to tamper with a witness, victim or informant; and 18 USC
§1513 makes it a criminal offense punishable by up to ten years in jail and a $250,00 fme to retaliate against a witness,
victim or informant, or threaten or attempt to do so.
          It is a criminal offense under 18 USC §3146, if after having been released, the defendant knowingly fails to appear
as required by the conditions of release, or to surrender for the service of sentence pursuant to a court order. If the defendant
was released in connection with a charge of, or while awaiting sentence, surrender for the service ofa sentence, or appeal or
certiorari after conviction, for;
          (1)        an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, the
                     defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
          (2)        an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
                     defendant shall be fined not more than $250,000 or imprisoned for not ore than five years, or both;
          (3)        any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two
                     years, or both;
          (4)        a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one
                     year, or both.
          A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
 imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted.

                                    ACKNOWLEDGMENT OF DEFENDANT
         I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to
obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the
penalties and sanctions set forth above.


                                                               *    ft II In 0 IV FrlJIV CO
                                                                                   Signature of Defendant



                                     DIRECTIONS TO UNITED STATES MARSHAL

(X)        The defendant is ORDERED released after processing.
( )        The United States Marshal is ORDERED to keep the defendant in custody until notified by the Clerk ofJudici81
           Officer that the defendant has posted bond and/or complied with 811 other conditions for release. The defendant
           shall be produced before the appropriate Judicial Officer at the time and place specified, if still in custody.



 DATE:
                                                                          Garys.   Aus~eJudge
   COPY:      DEFENDANT                 U.S, ATTORNEY              U.S. MARSHAL                PRETRlAL SERVICE
